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                                                COURT
                           UNITEDSTATESDISII'RICT
                                           OF LOLJISIANA
                          .:.T]:T :]:TRICT
TASHAHERBERT,
                                                   (]ASENO.:
anindividual,,

             Plaintifl,
                                                   ,Judge:
VS.


GRETNA REALTY r',SSOCIATES,LLC              :      Magistrate:
a DelawareLimited Liability ComPanY,

             Defendant.
                                     -------x

                                        COMPLATNT

      plaintiff, TAsHA HERBE,RT,by and throughher undersignedcounsel,herebyf-rlesthis

                                                           Limited Liability
complaint and sues,GRETNAREALTY ASSOCIATES,,LLC, a Delaware

                       and injunctiverelief,attonreys'fees,andcostspursuantto the Americans
Company,for declaral.ory

                Act. 42U.S.C.$ 12181et seq.,andalleges:
with Disabilities

                              JURISDICTION AND PARTIE,S
                                                                                          Americans
 1.    This is an actionfor declaratoryand injunctiverelief pursuantto Title III of the
                                                                            'fhis
                                  1218| etsrzq.(hereinafterreferredtoasthe"ADA")'
       WithDisabilitiesAct,42U.S.C.S
                                                                     1331and 1343'
       Courris vestedwith originaljurisdictionpursuantto 2B U.S.C.SS

 2.                  in this court pursuantto 28 U.S.C.Q1391(b)'
       Venueis proprer

 3.    plaintiff, TITSHA HERBERT, (hereinafter referred to as "MS. HERBERT" or

       "PLANTIFF"),isaresidentofOrleansParish,Louisiana'
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                                                    a disabilityunderthe ADA' MS' HERBERT
4.        MS. HERBER.| is a qualifiedindividuarwith

           is afflictedwith sPinabifida'

                                                                 in severalmajor life activitiesand
5.         Dueto herdisability,PLAINT'IFFis substantiallyimpaired

           requiresa wheelchairor a walker for mobility.

                                                      REALTY             AssoclATES' LLC is a
6.         upon informationand berief,DefendantGRETNA

                                                       to do businessin the Stateof Louisiana
           DerawareLimited Liability company,,registered

                                        ,.DEFENDANT"). DEFENDANT is the owner.lessee,lessor
           (hereinafterreftrred to as

                                                               which     is the subiectof this action'
            and/oroperatorof the real propertiesand improvements

                                                           LA 70053' The DEFENDANT is
            generallylocatr:dat 62westbankExpressway,Gretna,

            obligatedto comPlYwith the ADA'

                                                               EasternDistrict   of Louisiana'Jeffbrson
 7.         All eventsgivirrgriseto this lawsuitoccurredin the

            Parish.Louisia.na.




                               AMERICANS WITH DISABILITIE,S ACT

                                        paragraphs1 - 7 asif they were expresslyrestatedherein'
     8.      PLANTIFF reallegesandreavers

                                                         subjectto the ADA, generallylocatedat:
             The propertyis a placeof public accommodation,
     9.

                                  Gretna,LA 70053'
             62 WestbankExpressway,

                                              propertynumeroustimes and plansto visit the Property
     10.      MS. HERBERT has visited the

             againin the nearfuture.

                                                  serious                              the goodsand
                                                                    difficulty accessing
     1 1 . Duringthesevisits,MS. HERBERT'experienced
                                                                                 in paragraphl4 of
                                                               barriersasdiscussed
              utilizingthe servicesthereindueto the architectural
                                                      )
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      this ComPlaint.
                                                                                                         serious
                                                                       property,but continuesto experience
t2.   MS. HERBERTcontinuesto desireto visit the

                                                        14 which still erist'
      difficulty due to the barriersdiscussedin Paragraph

                                                       to utilize the goodsand servicesin the
13.   MS. HERBE,RTintendsto andwill visit the Pflrperty
                                                             to accesswhich arethe subjectsof
      future,but fearsthat shewill encounterthe sanrebarriers

      this action.

                                                                                                             S.3 6 . 3 0 2 e t s e q ' a n d
                                                n f 4 2 u . s . c .$ t 2 t 8 1 e t s e q . a n d 2 8 c . F . R
14.    D E F E N D A N Ti s i n v i o l a t i o o

                                                     not limited to the fbllowing violations
       is discriminatingagainstPLAINTIFITdue to, but
                                                         which hinderedher access:
       which PLANTIFF personallyobservedand/c'rencountered
                                                                               due to improper
                  A.         lnaccessibledisabledparking designatedas accessible

                                                                             accessaislewidths;
                             striping,signage,slope,locati6n,spacewidths and

                  B.                                       routefrom the parking areasto the facility;
                             Thereis no compliantaccessitrle

                                                                                 not have level landings
                   c.        There arerampsand curb cutsrat the facility that do

                                                                                   a smoothtransition
                              and/or contain excessiveslolles,and fails to provide

                                                                        roadway:
                              wherethe rampsconnectwith the sidewalkand

                   D.         The restroomsin the facility arenon-compliant;and

                   E.         NoncomPliantdoorhandles'

                                          ,Jiscriminate                                    againstPLAINTIFF, and others
  1 5 . Furthermore,DEFENDANT continuesto
                                                        modificationsin policies,practicesor
         similarly situated,by failing to make reasonable

                                                        to                                   provide PLANTIFF an equal
         procedures,rvhen such modificationsare necessary

                                                           goods,services,facilities,privileges.
          opportunityto parlicipatein, or benefit f.m, the
                                                                                                                                 andby
                                    which DEFENDANT offersto the generalpublic;
                   and accommodations
          advantages,
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                                                  to ensurethat   no individualwith a disability
      failing to takesucheffortsthatmay be necessaqi

                                            or otherwise treated differently than other
      is excluded.denied services,segregated,

      individuals becauseof the absenceof auxiliaryaidsand services.

                                                                         beenremediedor
16.   To date,all baniersto accessandADA violationsstill existandhavenot

                                                                        of the ADA. even
      alteredin such a way as to effectuatecompliancewith the provisions

      thoughremovalis readilyachievable.

                                                                   Property is readily
17.   Removal of thLediscriminatorybarriersto accesslocated on the

                                                           and would not placean undue
       achievable,reasonablyfeasible,and easilyar:complished,

       burdenon DEFENDANT.

                                                                  provide PLAINTIFF an
19.    Removalof the barriersto accesslocatedon the Propertywould

                                                                               accommodations
       equalopportunityto participatein, or benefitfi'om,the goods,services,and

       which DE,FENDANToffers to the generalptrblic'

20.              o.l his intent to return as a patronto the Property.PLANTIFF additionally
       Independent

                                                                              statedherein
       intendsto retum as an ADA testerto determinewhetherthe barriersto access

       havebeenremedied.

21.    pLAINTIFF hrasbeen obligated to retain the undersignedcounsel for the filing and

                                                                           attorneys'fees,
       prosecutionol'this action. PLAINTIFF is entitledto haveher reasonable

                        paidby DEFENDANT,pursuantto42 U.S.C.$ 12205.
        costs,andexpenses

                                                                         the
        WHEREFORp,pLAINTIFF demandsjudgrnentagainstDEFENDANT, and requests

 following injunctivetrnddeclaratoryrelief:
                                                                                      by
        A.     That this Court Declare that the Property owned, leased and/or operated

               DEFENDANT is in violationof the ADA;
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                                                     to alter the facility to make
B.   That this;Court enteran OrderdirectingDEFENDANT

                                                                  the full extentrequired
     it accessibleto anduseableby individu,alswith disabilitiesto

     by Title III of the ADA;

                                                               andneutralizeits
C.   ThatthirsCourt enteran order directingDEFENDANT to evaluate

                                   towardspersonswith disabilitiesfor a reasonable
             practices,andprocedures
     policies,,

                                         andcompletionof correctiveprocedures;
     amountof time, allowingimplemental.ion

D.                                 attorneys'fees,costs(includingexpertfees),and
     That this Court awardreasonable

     otherexpensesof suit,to PLANTIFF; and
                                                                            just and
                                                                    necessary'
E.    That this Court award suchother and further relief as it deems

      proper.

                                                   ly Submitted,,
                                           Respectful

                                            THE BIZERLAW FIRM
                                            Attorneysfor Plaintiff
                                            AndrewD. Bizer([.A # 30396)
                                            andrew@bizerlaw.com
                                            757St.Charles  Ave.'Suite304
                                            NewOrleans,  Louisiana 70130
                                            T: 504-619-9999
                                            F: 504-592-3300 - ,      /
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